Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 1 of 19 PageID #: 8




                EXHIBIT A
Case.net: 18SL-CC02907 - Docket Entries                                     Page 1 of 1
     Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 2 of 19 PageID #: 9




                                                                                         Search for Cases by: Select Search Method...        
Judicial Links   |    eFiling   |   Help    |   Contact Us    |    Print                                                                 Logon

                     18SL-CC02907 - SAMUEL PITLYK V THE NATIONAL RIGHT TO WORK
                                          COMMITT (E-CASE)


                                This information is provided as a service and is not considered an official court record.
                                                  Sort Date Entries:          Descending                  Display Options: All Entries       
                                                                           Ascending


08/14/2018           Agent Served
                     Document ID - 18-SMOS-818; Served To - THE NATIONAL RIGHT TO WORK COMMITTEE; Server - ;
                     Served Date - 10-AUG-18; Served Time - 00:00:00; Service Type - Special Process Server; Reason
                     Description - Served

08/13/2018           Affidavit Filed
                     Affidavit of Service NRWC.
                         Filed By: DENNIS NEIL SMITH JR
                         On Behalf Of: SAMUEL PITLYK

08/03/2018           Summ Issd- Circ Pers Serv O/S
                     Document ID: 18-SMOS-818, for THE NATIONAL RIGHT TO WORK COMMITTEE.Summons Attached in
                     PDF Form for Attorney to Retrieve from Secure Case.Net and Process for Service.

08/01/2018           Filing Info Sheet eFiling
                         Filed By: DENNIS NEIL SMITH JR
                     Motion Special Process Server
                     Request for Appointment of Process Server.
                       Filed By: DENNIS NEIL SMITH JR
                       On Behalf Of: SAMUEL PITLYK
                     Pet Filed in Circuit Ct
                     Petition.
                     Judge Assigned
                     DIV 7
Case.net Version 5.13.19.1                                        Return to Top of Page                                     Released 02/02/2018




https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                             9/7/2018
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 3 of 19 PageID #: 10
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 4 of 19 PageID #: 11
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 5 of 19 PageID #: 12
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 6 of 19 PageID #: 13
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 7 of 19 PageID #: 14
                                                                                         Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
                                                                    18SL-CC02907
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 8 of 19 PageID #: 15



                   IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                              STATE OF MISSOURI

SAMUEL R. PITLYK, individually,               )
and on behalf of all others similarly         )
situated,                                     )
                                              )
      Plaintiff,                              )
                                              )
vs.                                           )     Case No.:
                                              )
THE NATIONAL RIGHT TO WORK                    )     Div.
COMMITTEE, a Virginia nonprofit               )
Corporation,                                  )
                                              )     JURY TRIAL DEMANDED
Serve registered agent:                       )
Gregory W. Mourad                             )
8001 Braddock Road, Ste. 500                  )
Springfield, VA 22160                         )
                                              )
      Defendant.                              )

                            CLASS ACTION PETITION

      COMES NOW Plaintiff Samuel R. Pitlyk ("Pitlyk"), individually, and on behalf

of all others similarly situated for his Petition against Defendant The National Right

to Work Committee ("NRWC") states:

                         Parties, Jurisdiction and Venue

      1.     Pitlyk is a natural person who, at all times material to this petition,

resided in St. Louis County, Missouri.

      2.     Pitlyk brings this action on behalf of himself and all others similarly

situated.
                                                                                             Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
    Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 9 of 19 PageID #: 16



          3.     NRWC is a nonprofit corporation organized under the laws of the

Commonwealth of Virginia, and operating under Section 501(c)(4) of the Internal

Revenue Code.

          4.     NRWC’s headquarters are located in Fairfax County Virginia.

          5.     NRWC conducts substantial marketing and political activity in the

State of Missouri.

          6.     This Court has personal jurisdiction over NRWC because it has solicited

business in the State of Missouri, conducts business in the State of Missouri, has

directed telephone marketing to Missouri residents and Missouri cellular phone

numbers, has committed the acts described below in the State of Missouri and

otherwise has sufficient minimum contacts with the State of Missouri.

          7.     Venue is proper in this Court because a substantial portion of the events

giving rise to the claims asserted in this Petition occurred in St. Louis County,

Missouri.

                     Background and Facts Common to All Counts

          8.     NRWC describes it activities and purpose as follows:

                 “THE COMMITTEE CONDUCTS AN EDUCATIONAL-LOBBYING
                 PROGRAM ON A STATE AND NATIONAL LEVEL TO OPPOSE
                 COMPULSORY UNIONISM AMOUNG [SIC] OTHER OBJECTIVES,
                 THE COMMITTEE STRIVES TO PROTECT THE EXISTING 26
                 STATE RIGHT TO WORK LAWS AND THE FEDERAL EMPLOYEES’
                 RIGHT TO WORK LAW, AS WELL AS TO ENCOURAGE OTHER
                 STATES AND THE FEDERAL GOVERNMENT TO ADOPT RIGHT TO
                 WORK LAWS PROTECTING ALL WORKERS AFFECTED BY THE
                 COMPULSORY UNIONISM ITS ULTIMATE GOAL IS TO ELIMINAT
                 COMPULSORY UNIONISM”1


1
    2016 Form 990, Part III, Line 4a
                                              2
                                                                                            Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 10 of 19 PageID #: 17



      9.      The NRWC consistently generates annual revenue in well in excess of

$10,000,000.00, which it spends on lobbying efforts and campaigns. This includes

opposing forced membership in labor organizations (unions) and forced payment of

union dues.

      10.     The August 7, 2018, primary election ballot in the State of Missouri will

include as a proposition Senate Bill 19 with a ballot title of “Proposition A” and more

commonly known as Missouri “Right to Work Law”. The passage of this bill will

prohibit, as a condition of employment, forced membership in a labor organization

(union) or forced payments of dues or fees, in full or pro-rata, to a union. The NRWC

supports Proposition A and actively promotes the passage of the proposition to

Missouri voters.

      11.     As part of its efforts to gain voter support for the passage of Proposition

A, the NRWC recently made hundreds or thousands of illegal pre-recorded phone

calls to the cellular phones of Missouri residents.

      12.     Specifically, and for example, the NRWC delivered to Pitlyk’s cellular

phone a pre-recorded phone call from NRWC President Mark A. Mix, on behalf of

NRWC, imploring the recipient to support Proposition A. This call was made to Pitlyk

on July 31, 2018.

      13.     The same, or substantially similar, prerecorded call was made to many

other individuals.

      14.     NRWC markets itself and its political causes, in part, through

prerecorded telephone advertising.



                                            3
                                                                                          Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 11 of 19 PageID #: 18



      15.    Pitlyk is the owner of a cellular phone and pays the bill for his cellular

phone account. His cell phone number is 314-xxx-xxx2.

      16.    Pitlyk did not provide NRWC prior express written consent to call his

cellular phone. As used herein, the term “prior express written consent” means an

agreement signed by the recipient containing a clear and conspicuous disclosure

informing the recipient that he/she will receive cellular phone advertisements from

NRWC from an automatic telephone dialing system and informing him that he is not

required to sign such an agreement or agree to enter such an agreement as a condition

of purchasing any property or goods.

      17.    Pitlyk had no prior business relationship with NRWC.

      18.    The above referenced prerecorded phone message was sent from 855-

836-5901, a phone number controlled by NRWC.

      19.    Pitlyk received, answered, and then listened to all or a portion of the

prerecorded call on his cellular phone.

      20.    The prerecorded call sent to Pitlyk by NRWC invaded Pitlyk’s privacy

and was harassing and annoying.

      21.    Upon information and belief, NRWC made prerecorded calls advertising

NRWC’s position(s) en masse to the cell phones of Pitlyk and the putative class

members without first obtaining their prior express written consent. Said conduct

was harassing and annoying to Pitlyk and the putative class members.

  Count I -Violation of the Telephone Consumer Protection Act ("TCPA"),
                            47 U.S.C. § 227 et seq.

      22.    Pitlyk incorporates by reference the allegations of the previous


                                          4
                                                                                          Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 12 of 19 PageID #: 19




paragraphs as if fully stated in this count.

      23.    The TCPA states, in part:

       It shall be unlawful . . . (A) to make any call (other than a call made for
       emergency purposes or made with the prior express consent of the
       called party) using any automatic telephone dialing system or an
       artificial or prerecorded voice . . . (iii) to any telephone number assigned
       to a . . . cellular telephone . . . .

      (B) to initiate any telephone call to any residential telephone line using
      an artificial or prerecorded voice to deliver the message without the
      prior express consent of the called party, unless the call is initiated for
      emergency purposes or is exempted by rule or order by the Commission
      under paragraph (2)(B).

47 U.S.C. § 227(b)(1).

      24.    The TCPA defines an “automatic telephone dialing system” as

“equipment which has the capacity . . . to store or produce numbers to be called, using

a sequential number generator; and to dial such numbers.” 47 U.S.C. § 227(a)(1).

      25.    The TCPA defines a "telephone solicitation" as a "call or message for the

purpose of encouraging the purchase of goods, or services which is transmitted to any

person." 47 U.S.C. § 227(a)(4).

      26.    The Federal Communications Commission's regulations implementing

the TCPA provide that telephone solicitations cannot be made to a recipient without

the recipient's "prior express written consent." See FCC 12-21, CG Docket 02-278

(effective October 16, 2013); 47 C.F.R. § 64.1200(a)(2)

      27.    The term "prior express written consent" as defined by the Code of

Federal Regulations means "an agreement, in writing, bearing the signature of the

person called that clearly authorizes the seller to deliver or cause to be delivered to


                                           5
                                                                                           Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 13 of 19 PageID #: 20



the person called advertisements or telemarketing messages using an automatic

telephone dialing system or an artificial or prerecorded voice, and the telephone

number to which the signatory authorizes such advertisements or telemarketing

messages to be delivered." 47 C.F.R. § 64.1200(f)(8)(i).

      28.       The TCPA provides for a private right of action and statutory damages

of at least $500, and up to $1,500.00 per violation. 47 U.S.C. § 227(b)(3).

      29.       Pitlyk brings this action pursuant to the provisions of Missouri Supreme

Court Rule 52.08 individually, and on behalf of a class defined as:

            All persons in the United States who, from August 1, 2014, to the
            present, received at least one prerecorded phone call on his or her
            cell phone from NRWC and did not provide NRWC his or her prior
            express written consent to receive such messages. Excluded from
            this class definition are the judge, magistrate, or commissioner
            presiding over this matter and his or her immediate family
            members, counsel for named Plaintiff(s) and his/her/their
            immediate family members, and counsel for Defendant(s) and
            his/her/their immediate family members. Excluded from this class
            definitions are employees, directors, and officers of NRWC.
      30.       Upon information and belief, NRWC used an automatic telephone

dialing system to send the prerecorded phone call to the cell phones of Pitlyk and the

putative class members. NRWC's dialing system stored the phone numbers of Pitlyk

and the putative class members.          The numbers were dialed without human

intervention.

      31.       Upon information and belief, NRWC sent prerecorded phone calls to the

cell phones of Pitlyk and the putative class members without first obtaining their

prior express written consent.

      32.       By placing calls to the cell phones of Pitlyk and the putative class


                                            6
                                                                                            Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 14 of 19 PageID #: 21



members, without obtaining their prior express written consent, NRWC violated the

express provisions of the TCPA, including, but not limited to, 47 U.S.C. § 227(b)(l).

      33.    NRWC knew or should have known that Pitlyk and the putative class

members did not provide their prior express written consent to receive prerecorded

phone calls on their cell phones.

      34.    Pitlyk and the putative class members are entitled to damages of

$500.00 per text message made by NRWC and up to $1,500.00 per prerecorded phone

call if the Court finds that NRWC willfully violated the TCPA.

      35.    Upon information and belief, there are hundreds and possibly thousands

of persons in the proposed class, and the class is so geographically diverse that joinder

of all members is impracticable.

      36.    Pitlyk's claims are typical of the class he seeks to represent. Pitlyk and

the putative class members were called by NRWC through an automatic telephone

dialing system and did not provide prior express written consent to be called on their

cell phones. Pitlyk's claims and the claims and the putative class members’ claims

are based on the same legal theories and arise from the same unlawful conduct

thereby resulting in the same injury to Pitlyk and the putative class members.

      37.    There are questions of law and fact common to the class. Common

questions include, but are not limited to:

      a.     Whether NRWC made phone calls to the cell phones of the
             members of the putative class members without obtaining their
             prior express written consent to receive said calls;

      b.     Whether NRWC made phone calls to the cell phones of the
             putative class members using an automatic text messaging

                                             7
                                                                                         Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 15 of 19 PageID #: 22



             system;

      c.     Whether NRWC’s conduct violates 47 U.S.C. § 227(b)(l)(A);

      d.     Whether NRWC’s conduct violates the rules and regulations
             implementing the TCPA; and,

      e.     Whether Pitlyk and the putative class members are entitled to
             increased damages based on the willfulness of NRWC’s conduct.

      38.    Pitlyk will fairly and adequately represent the putative class members.

Pitlyk has retained counsel experienced in the prosecution of class actions. Pitlyk is

committed to vigorously prosecuting the claims presented in this petition. Neither

Pitlyk nor Pitlyk's counsel have any interests adverse or in conflict with the absent

class members.

      39.    The questions of law and fact common to the putative class members

predominate over any questions of fact affecting any individual member of the

proposed class.

      40.    A class action is superior to other methods for the fair and efficient

adjudication of this controversy. Because the damages suffered by the individual

class members may be relatively small compared to the expense and burden of

litigation, it is impracticable and economically infeasible for class members to seek

redress individually.

      41.    Plaintiff requests a trial by jury on all matters so triable.

                              Demand for Judgment

      WHEREFORE Plaintiff Samuel R. Pitlyk, individually, and on behalf of all

others similarly situated, requests the Court grant the following relief:



                                           8
                                                                                         Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 16 of 19 PageID #: 23



         a.   Enter an order, pursuant to Missouri Supreme Court Rule 52.08(b)(3),

certifying this action as a class action and appointing Plaintiff Samuel R. Pitlyk as

representative of the class;

         b.   Enter an order appointing The Smith Law Firm, LLC, as counsel for the

class;

         c.   Enter judgment in favor of Pitlyk and the putative-class for all damages

available under the TCPA, including statutory damages of $500 per violation, or up

to $1,500 per violation if NRWC willfully violated the TCPA;

         d.   Award Pitlyk and the class all expenses of this action, and requiring

defendant to pay the costs and expenses of class notice and claims administration;

and,

         e.   Award Pitlyk and the class such further and other relief the Court

deems just and appropriate.




                                              Respectfully submitted,
                                              THE SMITH LAW FIRM, LLC

                                                /s/ Neil Smith
                                              Neil Smith, MBN 56789
                                              231 S. Bemiston, Suite 800
                                              Clayton, Missouri 63105
                                              Phone (314) 725-4400
                                              Cellular (314) 974-3266
                                              neil@smithlawfirm.com




                                          9
                                                                                                          Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
                                                                                 18SL-CC02907
         Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 17 of 19 PageID #: 24




                                                   Aug. 1, 2018
Samuel R. Pitlyk




The National Right to Work Committee




                            Plaintiff


     Bill Cooper           PO Box 383, Fairfax Station, VA 22039            (703) 270-0002
                                                      cps@cooperservicellc.com




      The National Right to Work Committee
           R/a: Gregory W. Mourad
       8001 Braddock Road, Ste. 500
        Springfield, VA 22160




                                                           /s/ Neil Smith
                                                         56789
                                                         231 S. Bemiston, Ste. 800, Clayton, MO 63105
                                                         (314) 725-4400           neil@smithlawfirm.com
                                                                                  Electronically Filed - St Louis County - August 01, 2018 - 01:29 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 18 of 19 PageID #: 25
                                                                                  Electronically Filed - St Louis County - August 13, 2018 - 08:09 AM
Case: 4:18-cv-01507-RLW Doc. #: 1-1 Filed: 09/07/18 Page: 19 of 19 PageID #: 26
